Case 2:19-cv-01717-RGK-AGR Document 151-1 Filed 01/23/20 Page 1 of 15 Page ID
                                 #:1587


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8    Chicago, Illinois 60601
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11   Lev Tsukerman (SBN: 319184)
     ltsukerman@winston.com
12   WINSTON & STRAWN LLP
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13   Los Angeles, California 90071-1543
     Telephone: (213) 615-1700
14   Facsimile: (213) 615-1750
15   Jeanifer E. Parsigian (SBN: 289001)
     jparsigian@winston.com
16   WINSTON & STRAWN LLP
     101 California St., 35th Floor
17   San Francisco, California 94111
     Telephone: (415) 591-1000
18   Facsimile: (415) 591-1400
19   Attorneys for Plaintiffs
20                          UNITED STATES DISTRICT COURT
21          CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
22   ALEX MORGAN, et al.,                     Case No. 2:19-CV-01717-RGK-AGR
23                      Plaintiffs,           Assigned to: Judge R. Gary Klausner
24   v.                                       DECLARATION OF DIANA HUGHES
                                              LEIDEN IN SUPPORT OF
25   UNITED STATES SOCCER                     PLAINTIFFS’ EX PARTE
     FEDERATION, INC.,                        APPLICATION
26
                         Defendant.
27
28
                                                1
                                DECLARATION OF DIANA HUGHES LEIDEN
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                                 #:1588


1                     DECLARATION OF DIANA HUGHES LEIDEN
2          I, Diana Hughes Leiden, declare as follows:
3          1.     I am a partner at Winston & Strawn LLP, counsel for Plaintiffs Alex
4    Morgan, et al., in the above-entitled action. I have personal knowledge of the matters
5    set forth herein, and if called upon as a witness I could competently testify thereto.
6          2.     On December 3, 2019, Notice of Pendency of an Equal Pay Act Lawsuit
7    and Opt-In Consent Form were mailed to potential opt-in plaintiffs identified from a
8    class list provided by Defendant.
9          3.     Since that date, I learned that certain potential collective action members
10   were excluded from the list provided by Defendant. My colleague, Lev Tsukerman,
11   reached out to Defendant’s counsel about this issue, who responded that those
12   individuals were inadvertently not included. After correcting this issue, Winston &
13   Strawn mailed Notices of Pendency to those additional individuals.
14         4.     In addition, since the notice mailing, I have learned that at least sixteen
15   potential opt-in plaintiffs are no longer at the mailing address provided by Defendants.
16   This includes twelve Notices of Pendency returned to Winston & Strawn as
17   undeliverable as well as four additional addresses that were otherwise incorrect based
18   on information received by potential opt-in plaintiffs who contacted Plaintiffs either
19   personally or through their counsel. Of the four opt-in plaintiffs that reached out to
20   Winston & Strawn, one is currently living abroad for a professional soccer commitment
21   and not residing at her address on file.
22         5.     On January 10, January 21, and January 22, 2020, my colleagues and I
23   emailed counsel for Defendant regarding the issues raised in this ex parte application.
24   On January 21, we requested a stipulation to set an opt-in deadline of March 30, 2020
25   and to send a reminder notice to potential claimants regarding their Equal Pay Act
26   claims via an email or text message transmitting the court-approved Notice of
27   Collective Action Lawsuit and Opt-In Consent Form.
28
                                                 2
                               DECLARATION OF DIANA HUGHES LEIDEN
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1          6.     On January 22, 2020, Defendant’s counsel indicated they would only agree
2    that Plaintiffs may send email notifications to the specific individuals who Plaintiffs
3    have learned did not receive the original Notice of Pendency and related materials.
4    Defendant refused to stipulate to Plaintiffs’ request to send email notifications and
5    electronic reminders to the remainder of the potential plaintiffs who may or may not
6    have ever received the notice and did not specifically responded to Plaintiffs’ request to
7    set the opt-in deadline as March 30, 2020.
8          7.     Attached hereto as Exhibit A and Exhibit B are true and correct copies of
9    an e-mail chain between myself and Defendants’ counsel about this topic.
10
11         I declare under the penalty of perjury that the foregoing is true and correct.
12   Executed this 23nd day of January, 2020 in Los Angeles, California.
13
                                     /s/ Diana Hughes Leiden
14                                        Diana Hughes Leiden
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                               DECLARATION OF DIANA HUGHES LEIDEN
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                  EXHIBIT A
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                                 #:1591

  From:             Leiden, Diana Hughes
  To:               Finkel, Noah A.
  Cc:               Tsukerman, Lev; Parsigian, Jeanifer E.; Bily, Sarah J.; S-USSF Seyfarth Team
  Subject:          Re: Morgan, et al. v. USSF - Class and Collective Action Lists
  Date:             Friday, January 10, 2020 7:21:33 PM


  Noah,

  Please identify by Bates which rosters you used. To date, we do not have enough clarity on
  the various versions of rosters you have produced to know what you did here so we can check
  it.

  We will move the court on the reminder email. This will serve as notice that pursuant to Local
  Rule 7-19 of our intent to move ex parte. Let me know if you will oppose and if so, any basis
  you have for doing so.

  Diana

  Diana Hughes Leiden
  Winston & Strawn LLP
  (213) 615-1924


          On Jan 10, 2020, at 7:13 PM, Finkel, Noah A. <NFinkel@seyfarth.com> wrote:


          ﻿
          Diana,

          The collective and class lists were created manually from rosters, which you possess as
          well, and, when your team inquired about the three players identified below, we
          checked again. With the addition of those three players to the class list, and two of
          those three to the collective list, we’re confident that the lists are complete.

          No, we will not stipulate to reminder emails and text messages.

          Thanks, Noah



          Noah Finkel | Partner
          Chicago | Ext: 735913 (+1-312-460-5913) | Mobile: +1-312-925-5036
          nfinkel@seyfarth.com
          From: Leiden, Diana Hughes <dhleiden@winston.com>
          Sent: Friday, January 10, 2020 3:56 PM
          To: Finkel, Noah A. <NFinkel@seyfarth.com>; Tsukerman, Lev
          <ltsukerman@winston.com>
          Cc: Parsigian, Jeanifer <jparsigian@winston.com>; Bily, Sarah J. <SBily@winston.com>;
          S-USSF Seyfarth Team <S-USSFSeyfarthTeam@seyfarth.com>
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                                 #:1592

      Subject: RE: Morgan, et al. v. USSF - Class and Collective Action Lists


      [EXT. Sender]

      Noah,

      Thank you for your response. Because USSF’s class list and collective action lists
      provided many weeks ago were incomplete, we are concerned that USSF’s lists omit
      other players in addition to those identified by Lev. We need complete and accurate
      class and collective action lists right away. Not only is it USSF’s duty to do so, but we
      can’t check your work with the incomplete rosters, etc. that we have. We therefore
      ask that by Monday, USSF re-check its documents and compilation methods, provide an
      updated class list and collective action list, and provide us with a written explanation of
      how it prepared both lists. If you are unable to do this by close of business Monday, let
      me know right away so that we can seek relief with the Court as necessary.

      Additionally, please let us know if you will stipulate to Plaintiffs sending reminder
      emails and text messages to those on the lists – see attached stipulation and proposed
      order. Our review of the case law in the Central District indicates that the text of the
      messages that we wrote is appropriate, but that Court sign-off is usually obtained first.
      Thanks.

      Diana

       Diana Hughes Leiden
       Partner
       Winston & Strawn LLP
       T: +1 213-615-1700
       D: +1 213-615-1924
       F: +1 213-615-1750
       winston.com [winston.com]
      <image002.jpg>

      From: Finkel, Noah A. <NFinkel@seyfarth.com>
      Sent: Friday, January 10, 2020 9:41 AM
      To: Tsukerman, Lev <LTsukerman@winston.com>
      Cc: Leiden, Diana Hughes <DHLeiden@winston.com>; Parsigian, Jeanifer E.
      <JParsigian@winston.com>; Bily, Sarah J. <SBily@winston.com>; S-USSF Seyfarth Team
      <S-USSFSeyfarthTeam@seyfarth.com>
      Subject: FW: Morgan, et al. v. USSF - Class and Collective Action Lists

      Lev, Groom does not appear on the collective action list because she’d be time-barred.
      Otherwise, the reason these players do not appear on those lists is due to an error on
      our part in compiling the lists. Once we obtain the addresses and provide them to you,
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      we’d propose that the notices be sent to them and that they be given the same period
      of time to opt to the collection action or opt out of the class as those who received
      those notices in the original mailing. Sound right? Thanks, Noah


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      Chicago | Ext: 735913 (+1-312-460-5913) | Mobile: +1-312-925-5036
      nfinkel@seyfarth.com

      From: Tsukerman, Lev <ltsukerman@winston.com>
      Sent: Thursday, January 9, 2020 7:12 PM
      To: Stolzenbach, Brian <BStolzenbach@seyfarth.com>; Smentek, Sharilee K.
      <ssmentek@seyfarth.com>
      Cc: Leiden, Diana Hughes <dhleiden@winston.com>; Parsigian, Jeanifer
      <jparsigian@winston.com>; Bily, Sarah J. <SBily@winston.com>
      Subject: Morgan, et al. v. USSF - Class and Collective Action Lists


      [EXT. Sender]

      Brian and Sharilee,

      We noticed that USSF’s class list and collective action list (both of which we received on
      November 22) do not include certain players who are identified on rosters that USSF
      produced. For example:
         <!--[if !supportLists]-->(1)    <!--[endif]-->Shea Groom appears on
              USSF_Morgan_028072 for two October 2016 matches against Switzerland, but
              she does not appear on either the class or collective action list.
         <!--[if !supportLists]-->(2)    <!--[endif]-->Jaelin Howell appears on
              USSF_Morgan_028077 for two April 2017 matches against Russia, but she does
              not appear on either the class or collective action list.
         <!--[if !supportLists]-->(3)    <!--[endif]-->Casey Murphy appears on
              USSF_Morgan_028087 for two June 2018 matches against China, but she does
              not appear on either the class or collective action list.

      Can you please advise on why these three players do not appear on either list.

      Thank you,
      Lev

       Lev Tsukerman
       Associate Attorney
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       333 S. Grand Avenue
       Los Angeles, CA 90071-1543
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       D: +1 213-615-1834
Case 2:19-cv-01717-RGK-AGR Document 151-1 Filed 01/23/20 Page 8 of 15 Page ID
                                 #:1594

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       [winston.com] [nam01.safelinks.protection.outlook.com]
      <image003.jpg>


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      regulations.
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                                 #:1595




                  EXHIBIT B
Case 2:19-cv-01717-RGK-AGR Document 151-1 Filed 01/23/20 Page 10 of 15 Page ID
                                  #:1596

  From:                   Finkel, Noah A.
  To:                     Parsigian, Jeanifer E.; Leiden, Diana Hughes; S-USSF Seyfarth Team
  Cc:                     Spangler, Cardelle B.; Edmondson, Kerrie K.; Markarian, Lara
  Subject:                RE: Class Notice
  Date:                   Wednesday, January 22, 2020 3:54:20 PM


  Jeanifer, we’re not going to agree to that. Thanks, Noah



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  nfinkel@seyfarth.com | www.seyfarth.com




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  From: Parsigian, Jeanifer <jparsigian@winston.com>
  Sent: Wednesday, January 22, 2020 4:29 PM
  To: Finkel, Noah A. <NFinkel@seyfarth.com>; Leiden, Diana Hughes <dhleiden@winston.com>; S-
  USSF Seyfarth Team <S-USSFSeyfarthTeam@seyfarth.com>
  Cc: Spangler, Cardelle <cspangler@winston.com>; Edmondson, Kerrie K.
  <KEdmondson@winston.com>; Markarian, Lara <LMarkarian@winston.com>
  Subject: RE: Class Notice


  [EXT. Sender]

  Noah – the difficulty in reaching this many class members suggests that there may be other
  problems with the addresses that we aren’t aware of. We need to give effective notice to all of the
  potential class members, and there is no basis for you to object to email notice where there have
  been so many issues with the mailing addresses provided and the fact that court’s generally approve
  email notice so we are not asking for anything exceptional. If you will not agree, we will move the
  court.

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   Associate Attorney
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   D: +1 415-591-1469
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Case 2:19-cv-01717-RGK-AGR Document 151-1 Filed 01/23/20 Page 11 of 15 Page ID
                                  #:1597

   winston.com [winston.com]




  From: Finkel, Noah A. <NFinkel@seyfarth.com>
  Sent: Wednesday, January 22, 2020 2:25 PM
  To: Parsigian, Jeanifer E. <JParsigian@winston.com>; Leiden, Diana Hughes
  <DHLeiden@winston.com>; S-USSF Seyfarth Team <S-USSFSeyfarthTeam@seyfarth.com>
  Cc: Spangler, Cardelle B. <CSpangler@winston.com>; Edmondson, Kerrie K.
  <KEdmondson@winston.com>; Markarian, Lara <LMarkarian@winston.com>
  Subject: RE: Class Notice

  Thanks Jeanifer. The addresses we have for these 16 are from USSF’s payroll management software,
  Paylocity. To the extent the addresses in it are old, it appears that is because these players did not
  ever provide USSF with new addresses. That said, we’re willing to agree to email class and collective
  action notice to Smith, O’Reilly, Hatch, Williams, Barns, Hanson, Hinkle, Leroux, and Pinto, and to
  restart the 30-day opt-in and opt-out clocks for them. The others on the list below, with one
  exception, already are in the case and already are your clients, so of course you are able to
  communicate with them however you like. The one exception is Hope Solo who, as you know, has
  been represented by counsel in many depositions and in some court proceedings and thus is fully
  aware of this case. Thanks, Noah


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  Chicago | Ext: 735913 (+1-312-460-5913) | Mobile: +1-312-925-5036
  nfinkel@seyfarth.com
  From: Parsigian, Jeanifer <jparsigian@winston.com>
  Sent: Wednesday, January 22, 2020 1:56 PM
  To: Finkel, Noah A. <NFinkel@seyfarth.com>; Leiden, Diana Hughes <dhleiden@winston.com>; S-
  USSF Seyfarth Team <S-USSFSeyfarthTeam@seyfarth.com>
  Cc: Spangler, Cardelle <cspangler@winston.com>; Edmondson, Kerrie K.
  <KEdmondson@winston.com>; Markarian, Lara <LMarkarian@winston.com>
  Subject: RE: Class Notice


  [EXT. Sender]




      ·    Taylor Smith
      ·    Heather O'Reilly
      ·    Ashley Hatch
      ·    Lynn Williams
      ·    Lauren Barnes
      ·    Haley Hanson
      ·    Jaelen Hinkle
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      ·    Sydney Leroux
      ·    Merritt Mathias
      ·    Samantha Mewis
      ·    Alex Morgan
      ·    Briana Pinto
      ·    Megan Rapinoe
      ·    Hope Solo
      ·    Abby Wambach
      ·    McCall Zerboni



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   F: +1 415-591-1400
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  From: Finkel, Noah A. <NFinkel@seyfarth.com>
  Sent: Wednesday, January 22, 2020 11:52 AM
  To: Leiden, Diana Hughes <DHLeiden@winston.com>; Parsigian, Jeanifer E.
  <JParsigian@winston.com>; S-USSF Seyfarth Team <S-USSFSeyfarthTeam@seyfarth.com>
  Cc: Spangler, Cardelle B. <CSpangler@winston.com>; Edmondson, Kerrie K.
  <KEdmondson@winston.com>; Markarian, Lara <LMarkarian@winston.com>
  Subject: RE: Class Notice

  Please provide me with the 16 names so we can look into and consider this further.


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  nfinkel@seyfarth.com
  From: Leiden, Diana Hughes <dhleiden@winston.com>
  Sent: Wednesday, January 22, 2020 1:10 PM
  To: Parsigian, Jeanifer <jparsigian@winston.com>; Finkel, Noah A. <NFinkel@seyfarth.com>; S-USSF
  Seyfarth Team <S-USSFSeyfarthTeam@seyfarth.com>
  Cc: Spangler, Cardelle <cspangler@winston.com>; Edmondson, Kerrie K.
  <KEdmondson@winston.com>; Markarian, Lara <LMarkarian@winston.com>
  Subject: RE: Class Notice


  [EXT. Sender]
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  I will also note that any regularly noticed motion in the Central District would not be heard until the
  end of February, at the earliest. We do not have time to wait for four or five weeks to send
  reminders and notices to people who we know did not receive them. I don’t understand the refusal
  to agree to emails and texts given that this is the best way to reach the potential class members,
  given their occupations and travel schedules.

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  From: Parsigian, Jeanifer E. <JParsigian@winston.com>
  Sent: Wednesday, January 22, 2020 11:05 AM
  To: Finkel, Noah A. <NFinkel@seyfarth.com>; S-USSF Seyfarth Team <S-
  USSFSeyfarthTeam@seyfarth.com>
  Cc: Leiden, Diana Hughes <DHLeiden@winston.com>; Spangler, Cardelle B.
  <CSpangler@winston.com>; Edmondson, Kerrie K. <KEdmondson@winston.com>; Markarian, Lara
  <LMarkarian@winston.com>
  Subject: RE: Class Notice

  Noah – we don’t have additional mailing addresses from the PA, we have email addresses and some
  phone numbers, which are less likely to change and are the only way we have to potentially contact
  these individuals. We have no way of knowing whether other addresses were good or not, as many
  of these individuals reached out to us directly after hearing from other players who had received
  notices. This should not be a controversial request given the facts here. We need to move on this
  quickly so that people have notice. Please let us know today if you will agree to email and text
  notice, or we will proceed with the ex parte.




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   D: +1 415-591-1469
   F: +1 415-591-1400
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                                  #:1600




  From: Finkel, Noah A. <NFinkel@seyfarth.com>
  Sent: Wednesday, January 22, 2020 10:58 AM
  To: Parsigian, Jeanifer E. <JParsigian@winston.com>; S-USSF Seyfarth Team <S-
  USSFSeyfarthTeam@seyfarth.com>
  Cc: Leiden, Diana Hughes <DHLeiden@winston.com>; Spangler, Cardelle B.
  <CSpangler@winston.com>; Edmondson, Kerrie K. <KEdmondson@winston.com>; Markarian, Lara
  <LMarkarian@winston.com>
  Subject: RE: Class Notice

  Jeanifer, I’ve been out this morning and I can’t stipulate to something on such a short time frame.
  That said, and while I would need to discuss details with our client, I can tell you that, yes, we’d be
  willing to agree to issuing notice in the same form, by the same means, and under the same terms to
  those whose addresses are no longer good as had been issued on December 3 (as well as the class
  notice that was sent at a later date). In reviewing this quickly, I don’t see why we’d send notices
  again to those who already have been sent notices to a good address, and I don’t see why it would
  be by email or by text. If we have a new address from the PA, wouldn’t we use just that? Or do a
  skip trace? Also, can you send us a list of the 16 you contend did not receive the notice? That will
  help us vet this further. I don’t doubt that, particularly for some players who last were associated
  with USSF more than a few years ago, some may have moved and may or may not have left a
  forwarding address. But I can’t ask our client to stipulate to anything without obtaining this detail
  showing us who the 16 are and then investigating that. I would also note that we think an ex parte
  motion isn’t the right vehicle to resolve this dispute (if our agreement to mail notice to new
  addresses doesn’t resolve that dispute). It would seem a normal motion would be appropriate if we
  still have a dispute. Thanks, Noah


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  nfinkel@seyfarth.com
  From: Parsigian, Jeanifer <jparsigian@winston.com>
  Sent: Tuesday, January 21, 2020 7:10 PM
  To: Finkel, Noah A. <NFinkel@seyfarth.com>; S-USSF Seyfarth Team <S-
  USSFSeyfarthTeam@seyfarth.com>
  Cc: Leiden, Diana Hughes <dhleiden@winston.com>; Spangler, Cardelle <cspangler@winston.com>;
  Edmondson, Kerrie K. <KEdmondson@winston.com>; Markarian, Lara <LMarkarian@winston.com>
  Subject: Class Notice


  [EXT. Sender]

  Noah,

  Plaintiffs are reaching out again to request your agreement to stipulate to email notice to the class
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                                  #:1601

  and to set March 30, 2020 as the deadline for filing consent to join. Since our prior correspondence,
  we have learned that at least sixteen of the FLSA claim and consent forms did not reach their
  intended recipients because the addresses USSF provided were not accurate or current.

  Because so many of the addresses Defendant has provided have been incorrect, we request that you
  stipulate to email and text notice to the potential class members and to setting the deadline for filing
  consent to join forms to March 30, 2020. We are attaching a draft stipulation here.

  If you do not agree, we will move the court ex parte for an order. This will serve as notice pursuant
  to Local Rule 7-19 of our intent to move ex parte.

  Please let us know by close of business Pacific time tomorrow if you will agree to the stipulation.

  Thanks,
  Jeanifer

   Jeanifer E. Parsigian
   Associate Attorney
   Winston & Strawn LLP
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   San Francisco, CA 94111-5840
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   F: +1 415-591-1400
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